Case 14-12458-mdc        Doc 511      Filed 03/16/16 Entered 03/17/16 11:33:05               Desc Main
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                                 UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF PENNSYLVANIA

      IN RE:                                             CHAPTER 7

      CAMPISI CONSTRUCTION, INC.

                              DEBTOR                     BKY.NO. 14-I2458JKF

                                                     ORDER
                                 //I®-            /,
                      /, this/(o day of
               AND NOW,                                           ,2016, upon consideration of the

      Motion of the Trustee for Approval of Settlement, after notice to all creditors and parties in

      interest, opportunity for hearing, and upon a Certification of No Objection having been filed, and

      it appearing that approval of the settlement would be in the best interest of the Debtor, the Estate,

      all creditors, and parties in interest, it is hereby

               ORDERED that the Trustee's Motion is GRANTED,                           t is APPROVED.

                                                             THE COU



                                                          AN K. FIT/ZSIMO;
                                                         .S. BANKRUPTC




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